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                            UNITED STATES BANKRUPTCY COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                           www.flsb.uscourts.gov



In re:                                                         Case No. 19-11799-JKO

Shawn Timothy Mincey
Stephanie Suzanne Mincey
                                                               Chapter: 7

      Debtor                           /

                      DECLARATION REGARDING PAYMENT ADVICES

 Debtor:

  X       Copies of all payment advices, pay stubs or other evidence of payment received by the
          debtor from any employer within 60 days prior to the filing of the bankruptcy petition are
          attached. (Note: If you worked some, but not all of the 60 days prior, attach copies of any
          and all received and provide explanation that you didn’t work the full 60 days.
                                                                                                    )

         Copies of all payment advices are not attached because the debtor had no income from
          any employer during the 60 days prior to filing the bankruptcy petition.

         Copies of all payment advices are not attached because the debtor:
             receives disability payments
             is unemployed and does not receive unemployment compensation
           receives Social Security payments
             receives a pension
             does not work outside the home
             is self employed and does not receive payment advices

          None of the statements above apply, however, the debtor is unable to timely provide
          some or all copies of payment advices or other evidence of payment received
          Explain:

 Joint Debtor (if applicable):

          Copies of payment advices, pay stubs or other evidence of payment received by the joint
          debtor from any employer within 60 days prior to the filing of the bankruptcy petition are
          attached. (Note: If you worked some, but not all of the 60 days prior, attach copies of any
          and all received and provide explanation that you didn’t work the full 60 days.
                                                                                                    )

         Copies of payment advices are not attached because the joint debtor had no income from
          any employer during the 60 days prior to filing the bankruptcy petition.



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       Copies of payment advices are not attached because the joint debtor:
            receives disability payments
            is unemployed and does not receive unemployment compensation
            receives Social Security payments
           receives a pension
            does not work outside the home
            is self-employed and does not receive payment advices

        None of the statements above apply, however, the joint debtor is unable to timely provide
        some or all copies of payment advices or other evidence of payment received Explain:



NOTE: When submitting copies of evidence of payment such as pay stubs or payment advices,
it is your responsibility to redact (blackout) any social security numbers, names of minor
children, dates of birth or financial account numbers before attaching for filing with the
court.

 /s/ Chad T. Van Horn                                      Date: 03/04/2019
Signature of Attorney or Debtor

                                                           Date:
Signature of Attorney or Joint Debtor




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